      Case 8-18-73782-reg             Doc 26      Filed 08/23/18           Entered 08/23/18 11:20:43




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                            Index No. 18-73782 (REG)
 PATRICIA LAMANNA,
 a/k/a PATRICIA ROSE MCCALLAN                                               Chapter 7

                                    Debtor.
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            ORDER APPROVING COMPROMISE AS TO THE
DEBTOR’S HOMESTEAD EXEMPTION PURSUANT TO BANKRUPTCY RULE 9019

        UPON the motion (the “Motion”) of Richard L. Stern, Esq. (the “Trustee”), the chapter 7

trustee of the estate of Patricia Lamanna a/k/a Patricia Rose McCallan (the “Debtor”), the above-

referenced debtor, for an order approving a compromise pursuant to Rule 9019(a) of the Federal

Rules of Bankruptcy Procedure; and notice of the Motion being good and sufficient, and no further

notice being necessary nor required; and no objections to the Motion having been filed or received;

and after due deliberation and sufficient cause appearing therefore, it is hereby:

        ORDERED, that the Motion is granted; and it is further

ORDERED, that the Stipulation of Settlement (the “Settlement”), dated July 18, 2018, between

the Trustee and the Debtor is approved pursuant to Bankruptcy Rule 9019(a); and it is further

        ORDERED, that the Trustee is hereby authorized and directed to take such actions as

are necessary to consummate and implement the terms of the Settlement.

SO ORDERED:




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 Dated: Central Islip, New York                                                 Robert E. Grossman
        August 23, 2018                                                    United States Bankruptcy Judge
